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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                  NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     PEOPLE OF THE STATE OF
                                         CALIFORNIA,                                          ORDER SETTING DEADLINE FOR
                                   6                                                          FURTHER STATUS REPORT
                                                        Plaintiff,
                                   7
                                                 v.                                           Case No. 17-cv-07106-SK
                                   8
                                         UNITED STATES DEPARTMENT OF
                                   9     EDUCATION, et al.,
                                                                                              Regarding Docket No. 180
                                  10                    Defendants.

                                  11     MARTIN CALVILLO MANRIQUEZ, et al.,                   Case No. 17-cv-07210-SK
                                  12                    Plaintiffs,
Northern District of California
 United States District Court




                                                                                              Regarding Docket No. 360
                                  13             v.
                                  14     UNITED STATES DEPARTMENT OF
                                         EDUCATION, et al.,
                                  15
                                                        Defendants.
                                  16

                                  17          The Court has reviewed the joint status report submitted by the parties on November 14
                                  18   and 15, 2022. (Dkt. Nos. 180, 360.) The parties inform the Court that they continue to work
                                  19   toward finalizing their settlement agreement, and that a recent announcement by the Department
                                  20   of Education that it plans to discharge federal student loans related to Corinthian Colleges, Inc.,
                                  21   will likely aid in resolving outstanding settlement issues. (Id.) The parties request further time to
                                  22   finalize negotiations and ask that the Court set a further status report deadline in 60 days. (Id.)
                                  23   Accordingly, good cause appearing, the Court HEREBY SETS a further status report deadline of
                                  24   January 13, 2022.
                                  25          IT IS SO ORDERED.
                                  26   Dated: November 15, 2022
                                  27                                                     ______________________________________
                                                                                         SALLIE KIM
                                  28                                                     United States Magistrate Judge
